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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                11/06/2020
                                                                       :
SANDER SABA,                                                           :
                                                                       :
                                    Plaintiff,                         :
                                                                       :       20-cv-5859 (LJL)
                  -v-                                                  :
                                                                       :           ORDER
ANDREW M. CUOMO, in his official capacity as                           :
Governor of the State of New York and MARK J. F.                       :
SCHROEDER, in his official capacity as commissioner of :
the New York State Department of Motor Vehicles                        :
                                                                       X
                                    Defendants.

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LEWIS J. LIMAN, United States District Judge:

        The Court held a conference today to address the status of discovery during the pendency
of Defendant’s motion to dismiss, at Dkt. No. 18. As stated and for the reasons given at the
conference, IT IS HEREBY ORDERED that discovery is stayed pending resolution of the
motion to dismiss, with the following exception: Plaintiff may take a deposition, pursuant to Fed.
R. Civ. P. 30(b)(6), of a representative of the State of New York or the New York Department of
Motor Vehicles with respect to the topics Plaintiff identified as pertinent at conference. After
Plaintiff has taken its deposition, either party may file a letter with the Court requesting
additional discovery.

        At the conference the Court denied Plaintiff’s request to extend the briefing schedule for
the motion to dismiss. As represented by the parties and adopted by the Court, the briefing
schedule is as follows: The opposition shall be filed on or before November 20, 2020 and the
reply shall be filed on or before December 9, 2020. If the complaint survives the motion to
dismiss, the Court will schedule another conference to set a schedule for further discovery.

         SO ORDERED.


Dated: November 6, 2020                                     __________________________________
       New York, New York                                              LEWIS J. LIMAN
                                                                   United States District Judge
